Case 2:21-cv-02620-AB-GJS Document 34 Filed 06/23/21 Page 1 of 3 Page ID #:174




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       Attorney(s) for Plaintiff Scanning Technologies Innovations, LLC
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   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        SCANNING TECHNOLOGIES                         CASE NO.: 2:21-cv-02620-AB-GJS
        INNOVATIONS, LLC,
  11
                           Plaintiff,                JOINT STIPULATION AND
  12
                                                     ORDER OF DISMISSAL WITH
        v.                                           PREJUDICE
  13

  14    NIGHT OUT, INC.,

  15                       Defendant.
  16

  17

  18         Plaintiff Scanning Technologies Innovations, LLC and Defendant Night Out,
  19   Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE as
  20   follows:
  21         1.     All claims asserted by the Plaintiff in this Action are dismissed with
  22   prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
  23         2.     All counter-claims asserted by the Defendant in this action are dismissed
  24   without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii) and 41(a)(1)(B); and
  25         3.     Each party shall bear its own costs and attorneys’ fees with respect to the
  26   matters dismissed hereby.
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                         STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
Case 2:21-cv-02620-AB-GJS Document 34 Filed 06/23/21 Page 2 of 3 Page ID #:175




   1         This Stipulation and Order shall finally resolve the Action between the parties.
   2

   3   Dated: June 23, 2021                         Respectfully submitted,
   4
                                                    /s/Stephen M. Lobbin
   5                                                Stephen M. Lobbin
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  10                                                JAY JOHNSON (Pro Hac Vice
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  15                                                Attorney(s) for Plaintiff Scanning
  16                                                Technology Innovations, LLC
  17

  18                                                FISH & RICHARDSON P.C.
  19                                                By: /s/Noel F. Chakkalakal
  20                                                Rodeen Talebi (CA SBN 320392)
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                                                    Neil J. McNabnay (pro hac vice)
  26                                                Ricardo J. Bonilla (pro hac vice)
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                        STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
Case 2:21-cv-02620-AB-GJS Document 34 Filed 06/23/21 Page 3 of 3 Page ID #:176




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   5
                                                 COUNSEL FOR DEFENDANT
   6                                             NIGHT OUT, INC.
   7

   8
                               CERTIFICATE OF SERVICE

   9          I hereby certify that on June 23, 2021, I electronically filed the above
  10   document(s) with the Clerk of Court using CM/ECF which will send electronic
       notification of such filing(s) to all registered counsel.
  11

  12                                             /s/Stephen M. Lobbin
                                                 Stephen M. Lobbin
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  15
       SO ORDERED this _____ day of _______________, 2021.
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                                    _______________________________________
                                    UNITED STATES DISTRICT JUDGE
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                       STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
